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                                        August 31, 2021



Amanda K. Anderson                          Via Email: Aanderson@insurance-counsel.com
BOYLE LEONARD ANDERSON, P.A.
9111 W. College Point Drive
Fort Myers, FL 33919

Re:    Insured:       Figg Bridge Builders, LLC
       Project:       Cline Avenue Bridge
       Carrier:       Lexington Insurance Company
       Policy No.:    061853758
       Claim No.:     2260321908US
       Matter:        AAA Case No. 01-20-0010-8384; Cline Avenue Bridge, LLC v. Figg
                      Bridge Builders, LLC; In the American Arbitration Association
                      (“Arbitration Proceeding”);

Dear Ms. Anderson:

       On behalf of Lexington Insurance Company (“Lexington”), this letter replies to your letter
dated August 30, 2021 on behalf of Figg Bridge Builders, LLC (“Figg”).

       Once again, your correspondence contends that Lexington is obligated to pay for Figg’s
prosecution of affirmative claims against Cline Avenue Bridge and other third parties. In this
instance, your correspondence asserts that Lexington must pay for the work of expert witnesses to
support Figg’s affirmative claims. Nothing could be further from the truth.

        By prior correspondence to you, including my letter dated June 4, 2021, I clearly advised
of the numerous reasons why Lexington has no obligation to pay for the prosecution of Figg’s
affirmative claims under the Lexington insurance policy captioned above (the “Policy”). For sake
of brevity, I incorporate herein by reference all my prior correspondence on that subject.

       Nothing has changed since my prior correspondence. Accordingly, Lexington’s position
remains unchanged. Lexington has no obligation to pay for the work of expert witnesses to support
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Ms. Amanda K. Anderson
August 31, 2021
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Figg’s affirmative claims. Lexington has no obligation to permit the expert witnesses whom
defense counsel has retained, for purposes of Figg’s defense, to act additionally as expert witnesses
in support of Figg’s affirmative claims. As Lexington has no obligation to do so, it respectfully
declines to do so.

       Figg has known of Lexington’s position for nearly five (5) months and, therefore, has had
more than ample time to engage expert witnesses for its own account. Any delay by Figg in
engaging any expert to support Figg’s affirmative claims is solely Figg’s responsibility.

     To ensure that the record is clear, I prefer that we confine to writing any further
communications on the foregoing subjects.

                                         Yours very truly,

                                          /s/ Jeff Parsons

                                         Jeffrey R. Parsons

/JRP
cc: Andy Yoho                                         Via Email: ayoho@insurance-counsel.com
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